                 Case 2:20-cv-01589-RFB-BNW Document 18
                                                     16 Filed 01/11/21
                                                              01/08/21 Page 1 of 5




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          5~ Attorneys for Defendants LVMPD, Ofc. Fryman, Ofc. Emerton, Ofc. Ferguson and Ofc.
              Locher
          6
                                     UNITED STATES DISTRICT COURT
          7
                                             DIS'T'RICT OF NEVADA
          8
            JEANNE LLERA and JORGE L. GOMEZ,                          Case Number:
          9 as the appointed co-special administrators of       2:20-cv-01589-RFB-BNW
            the estate of JORGE A. GOMEZ; JEANNE
         10 LLERA and JORGE L. GOMEZ,
                                                            STIPULATION AND ORDER TO
~        11                               Plaintiffs,        EXTEND DISCOVERY (FIRST
z                                                                      REQUEST)
w      ~ 12         vs.
O
U    ~, ~°
        N'' 13
         LAS VEGAS METROPOLITAN POLICE
    N ~ M
         DEPARTMENT; RYAN FRYMAN; DAN
U ~~~ 14 EMERTON; VERNON FERUUSON;
~=~`
~q ~ ;X  ANDREW LOCHER and DOS 1-10,
~ ~?? 15 inclusive,
    ~ A~

~ o>~ 16                                     Defendants.
cn ^~ M
IH

~     N 17
Oi                     Pursuant to LR 6-1 and LR 26-4, Plaintiffs, by and through their counsel of record,
~       18
►~            Eric Valenzuela, Esq., of Law Offices of Dale K. Galipo, and Defendants, by and through
        19
              their attorney of record, Craig R. Anderson, Esq., of Marquis Aurbach, hereby stipulate and
        20
              request that this Court extend discovery deadlines in the above-captioned matter ninety (90)
        21
              days, up to and including October 28, 2021. In support of this stipulation and request, the
        22
           ', parties state as follows:
        23
              I.       PROCEDURAL HISTORY
        24
                       1.      On August 29, 2020, the Plaintiffs filed their Complaint. ECF No. 1.
        25
                       2.      On October 1, 2020, the LVMPD Defendants filed their Answer to Plaintiffs'
        26
              Complaint. ECF No. 11.
        27

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                                                      Page 1 of 5
                                                                         MAC: ] 4687-283 4247153 1 1 /8/2021 10:43 AM
                        Case 2:20-cv-01589-RFB-BNW Document 18
                                                            16 Filed 01/11/21
                                                                     01/08/21 Page 2 of 5



              1 '~,          3.      On November 20, 2020, this Court entered the Discovery Plan and

              2 ~ Scheduling Order. ECF No. 14

              3              4.      At the end of December 2020, LVMPD completed its internal investigation

              4       into the subject incident and released its internal documents to defense counsel.

              5       II.    DISCOVERY COMPLETED TO DATE

              6              1.      The parties participated in the FRCP 26 conference on November 13, 2020.

              7              2.      The parties agreed to stipulate to extend the time to serve Rule 26 disclosures

              8       until after LVMPD had completed its internal criminal investigation into the subject event

              9       and released its internal documents to defense counsel.

             10              3.      On November 20, 2020, the Court entered the Discovery Plan and Scheduling

                      Order. ~CF No. 14.
~~
w       ~ 12                 4.      On January 5, 2021, the Plaintiffs served their Initial Disclosures of
O       ~°   7
U        n
      y~ N   13       Witnesses and Documents pursuant to FRCP 26.
     N ~ M


U ~~~ 14                     5.      On January 5, 2021, the LVMPD Defendants served their Initial Disclosures
    :~
~ ~~~
Pa`~~ x
~✓ az~ 15             of Witnesses and Documents pursuant to FRCP 26.
~ — ~~
    en ,_
     o>0 16
~~~N                         6.      On January 5, 2021, the LVMPD Defendants served written discovery on all
   ~,
~       ~ 17 named Plaintiffs.

~            18              7.      On January 6, 2021, the Plaintiffs served requests for production of

             19 documents on Defendant LVMPD.

             20              8.      In late December 2020 and early January 2021, the parties began attempting

             21       to set necessary depositions.

             22 III.         WHY REMAINING DISCOVERY HAS NOT BEEN COMPLETED

             23              This case involves the June 1, 2020, fatal officer involved shooting of Jorge A.

             24 Gomez, Jr.          The Plaintiffs filed their Complaint less-than two months after the subject

             25       incident. At the time of the Plaintiffs' filing, the LVMPD Defendants had not yet completed

             26 their internal review.         Generally, all LVMPD officer involved shooting investigations

             27 undergo atwo-step process.             First, the shooting is investigated by LVMPD's Force

             28 Investigation Team ("FIT"). The FIT team determines whether probable cause exists as to
                                                               Page 2 of 5
                                                                                   MAC: 14637-283 42471 3 1 1/8/2021 10:43 AM
                      Case 2:20-cv-01589-RFB-BNW Document 18
                                                          16 Filed 01/11/21
                                                                   01/08/21 Page 3 of 5




                    whether the involved officers committed any criminal acts and submit its findings to the

                    Clark County District Attorney. The District Attorney then determines whether any criminal

                    charges should be brought against any of the involved officers. The FIT investigations often

                    take several months to complete. In this case, the FIT investigation did not conclude until
               5    late-December 2020. Due to the fact that any criminal proceedings would take precedent

               6 over any civil proceedings, LVMPD's defense counsel did not receive the case file until it

               7 was determined that criminal charges would riot be brought. Defense counsel and plaintiffs'

               8 counsel communicated regularly about the status and LVMPD provided the documents

               9 within days of their receipt. On January 5, 2021, the LVMPD Defendants disclosed over

              10 3,989 pages of documents.        Now that these tangible items have been produced by the

~             11    LVMPD Defendants, the parties can begin reviewing the same and conducting meaningful
.~
w        ~ 12 discovery.
O         ~°~' 13
V      ~~ N                Additionally, hours of body worn camera recordings, video surveillance recordings,
     U ~ M


U Q~~ 14 I and audio recordings will need to be produced to Plaintiffs' counsel when defense counsel
~ ~~'`
~ ~z~ 15 receives from Defendant LVMPD.
~~-~~
  -- on
  o > 0 16        Because the documents relevant to this litigation were just obtained by both counsel,
  ~- ~ N
~      a W


          N   I /   and because additional relevant documents such as hours of body worn camera recordings,
Oi
~             18 video surveillance recordings, and audio recordings have not yet been produced, it will be

              19 extremely difficult, if not impossible, to meet the current January 29, 2021 expert deadline

              20 and the March 30, 2021 discovery deadline.

              21    IV.    REMAINING DISCOVERY
              22           1.     The Plaintiffs need to take the depositions of the defendant officers.
              23           2.     The LVMPD Defendants need to take the depositions of the Plaintiffs.
              24           3.     Both parties intend to take the depositions of several percipient witnesses.

              25           4.     Both parties need to respond to the other parties' written discovery.

              26           5.     Both parties need to disclose their expert witness reports.
              27           6.     After the disclosure of expert witness reports, both parties intend to take the

              28 depositions of the expert witnesses.
                                                            Page 3 of 5
                                                                                MAC:14687-283 4247153 1 U3/2021 10:43 AM
                      Case 2:20-cv-01589-RFB-BNW Document 18
                                                          16 Filed 01/11/21
                                                                   01/08/21 Page 4 of 5



               1 V.        EXTENSION OR MODIFICATION OF THE DISCOVERY PLAN AND
                           SCHEDULING ORDER
               2
                           LR 26-4 governs modifications of extensions of the Discovery Plan and Scheduling
               3
                    Order. Any stipulation or motion must be made no later than twenty-one (21) days before
               4
                    the expiration of the subject deadline, and comply fully with LR 26-4. The parties are
               5
                    submitting this request twenty-one (21) days before the expert deadline disclosure.
               6
                    Therefore, the parties respectfully request that the modification of a scheduling order be
               7
                    granted. The following is a list of the current discovery deadlines and the parties' proposed
               8
                    extended deadlines.
               9
                         Scheduled Event                 Current Deadline                 Proposed Deadline
             10                                                                                                              i
                Expert Disclosures Pursuant January 29, 2021                        April 29, 2021
~            11 to FRCP 26 a 2
z               Rebuttal Expert Disclosures February 28, 2021                       May 28, 2021
w        ~   12 Pursuant to FRCP 26 a 2
O               Dispositive Motion          April 29, 2021                          July 29, 2021                            li
U     ~~ N'' 13
   > ~..-
    J ~ M
                Discovery Cut-Off           March 30, 2021                          Jlme 30, 2021                            'i
V~~~         14
~ ~~`
                Joint Pre-Trial Order       May 29, 2021                            August      28,    2021    (if'~
~
~1 ~ z¢  ~ ~~.
             15                                                                     dispositive motions are filed I
   -. ~°bU —
~ ~'                                                                                the deadline for tiling the '~,
~ ~>~ 16                                                                            joint pre-trial order will be
~~~~       ~~                                                                       suspended until 30 days after !~
~          ^~ 17                                                                    a decision on the dispositive I,
O+         e
                                                                                    motions or further court I
~              18                                                                   order
             19
                           This request for extensions of time is not sought for any improper purpose or for
             20
                    purposes of delay.    Because the Complaint was filed so close to the date of the event,
             21
                    LVMPD had not completed its internal investigation and the parties were not privy to the
             22
                    documents necessary to properly discover this case. All documents have now been received
             23
                    and disclosed except for the hours of body worn camera recordings, video surveillance
             24
                    recordings, and audio recordings. Despite not having the necessary documents, the parties
             25
                    have still worked diligently at beginning discovery by serving written discovery, retaining
             26
                    experts, and working towards setting deposition dates. Therefore, the parties respectfully
             27

             28
                                                            Page 4 of 5
                                                                                MnC: 14687-283 42471>3 l I/8/2021 10:43 AM
                     Case 2:20-cv-01589-RFB-BNW Document 18
                                                         16 Filed 01/11/21
                                                                  01/08/21 Page 5 of 5




            1 submit that the reasons set forth above constitute compelling reasons for the discovery

            2 extension.

            3                WI-IEREFORE, the parties respectfully request that this court extend the discovery

            4 dates as outlined in accordance with the table above.

            5                IT IS SO STIPULATED this 8th day of January, 2021.

            6 MARQUIS AURBACH COFFING                              LAW OFFICES OF DALE K. GALIPO

            7
                 ', By:      s/C.'rai~ R. Anderson                 By:      s/Erzc Valenzuela
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                          Nevada Bar No. 6882                            CA Bar No. 284500 (Pro ~-Iac Vice)
            9             10001 Park Run Drive                           21800 Burbank Boulevard, Suite 310
                          Las Vegas, Nevada 89145                        Woodland ~-~Iills, California 91367
           10             Attorney for LVMPD Defendants                  Attorneys for Plaintiffs

~          11
z                                                          ORDER
w     ~ 12
o     r    7
                                              IT IS SO ORDERED
U ~~~~
   `~ Nn   13                IT IS SO ORDERED this _day of JanLiary, 2021.
                                              DATED: 3:55 pm, January 11, 2021
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  y ~ X
~ ~?~ 15
~ --
   =- an
      ti ,~
                                                                United States District Court Judge
~ o>~ 16                                      BRENDA WEKSLER
cn
H    ~ M                                      UNITED STATES MAGISTRATE JUDGE
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A'    O
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